AQ 106 (Rev. 4/10) Applicati

 

 

UNITED STATES DISTRICT COURT

for the
EASTERN DISTRICT OF WISCONSIN
In the Matter of the Search of

A United States Postal Service Priority Mail Express parcel # EE 304 Case Number: ( G-M J - l 24/
480 756 US (the SUBJECT PARCEL). The SUBJECT PARCEL is a OO
white box 13 3/8” long x 11 7/8” wide x 3 5/8” tall, weighing

approximately 2 Ib. 3 oz. The SUBJECT PARCEL is from “Lindsey

McNally 4808 McDonnel Ave Oakland Ca 94619.” The parcel bears a

hand written label addressed to “M.M. N66W35104 Lappland Crossing

Oconomowoc WI 53066.” The SUBJECT PARCEL was postmarked on

March 20, 2019 in Oakland, CA 94615 at 6:16 pm. The postage was

$53.50, with no additional insurance on the parcel added.

APPLICATION & AFFIDAVIT FOR SEARCH WARRANT

I, Daniel York, a federal law enforcement officer, request a search warrant and state under penalty
of perjury that I have reason to believe that on the following person or property:

A United States Postal Service Priority Mail Express parcel # EE 304 480 756 US (the SUBJECT PARCEL). The
SUBJECT PARCEL is a white box 13 3/8” long x 11 7/8” wide x 3 5/8” tall, weighing approximately 2 lb. 3 oz. The
SUBJECT PARCEL is from “Lindsey McNally 4808 McDonnel Ave Oakland Ca 94619.” The parcel bears a hand
written label addressed to “M.M. N66W35104 Lappland Crossing Oconomowoc WI 53066.” The SUBJECT
PARCEL was postmarked on March 20, 2019 in Oakland, CA 94615 at 6:16 pm. The postage was $53.50, with no
additional insurance on the parcel added.

located in the Eastern District of Wisconsin there is now concealed: Please see attached affidavit, which
is hereby incorporated by reference.

The basis for the search warrant under Fed. R. Crim. P. 41(c) is (check one or more):
Y evidence of a crime;
Y contraband, fruits of a crime, or other items illegally possessed;
Q property designed for use, intended for use, or used in committing a crime;
Q a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:
Title 21, United States Code, Sections 841(a)(1) and 843(b).

The application is based on these facts:
/ Continued on the attached sheet, which is incorporated by reference.
Q Delayed notice of 180 days (give exact ending date if more than 30 days: } is
requested under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.

“Darel Yr

Applicant’s signature
Name and Title; Daniel York, U.S. Postal Inspector

Sworn to bef e, and signed in my presence.
Date fe 2019 i, < ENG.
/

City and state: Milwaukee, Wisconsin THE HONORABLE WILLIAM E/PUFFIN
United States Magistrate Judge
Name & Title of Judicial Officer

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Affidavit of U.S. Postal Inspector Daniel York

I, Daniel York, being duly sworn on oath, state as follows;

1. I am a United States Postal Inspector currently assigned to the Milwaukee Field
Office of the United State Postal Inspection Service. I have been employed as a Postal Inspector
since July 2013. Prior to becoming a Postal Inspector, I was employed as a forensic scientist in
drug chemistry with the Illinois State Police for five years, where I examined over 12,000 samples
of suspected controlled substances. I have a Bachelor’s of Science degree in Chemistry from
Southern Illinois University in Carbondale, Illinois. My primary duties as a Postal Inspector
include dangerous mail investigations (DMJ) and investigating the illegal transportation of
controlled substances, and/or proceeds/payments therefore through the United States Postal
Service (USPS). As a Postal Inspector, I have been trained in investigations of dangerous mail
and narcotics trafficking through the United States mail, both at the Postal Inspection Service Basic
Training Academy, and at the Inspection Service classes dedicated solely to dangerous mail and
illegal controlled substances trafficking via USPS. Based upon my prior education, work
experience with the Illinois State Police, and experiences as a federal law enforcement officer, I
know that the United States mails are sometimes used to deliver narcotics, drugs, and other
controlled substances and payments/proceeds thereof.

PURPOSE OF AFFIDAVIT

2. This affidavit is made in support of a search warrant for the SUBJECT PARCEL
described below in Paragraph 3, for items which constitute the fruits, instrumentalities, and
evidence of violations of Title 21, United States Code, Sections 841 (a)(1) (Distribution and

Possession with Intent to Distribute a Controlled Substance) and 843 (b) (Unlawful Use of a

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Communication Facility (including the mails) to Facilitate the Distribution of a Controlled

Substance.)

PARCEL TO BE SEARCHED

 

3. This affidavit is made in support of an application for a search warrant for United
States Postal Service Priority Mail Express parcel # EE 304 480 756 US (the SUBJECT PARCEL).
The SUBJECT PARCEL is a white box 13 3/8” long x 11 7/8” wide x 3 5/8” tall, weighing
approximately 2 lb. 3 oz. The SUBJECT PARCEL is from “Lindsey McNally 4808 McDonnel
Ave Oakland Ca 94619.” The parcel bears a hand written label addressed to “M.M. N66W35104
Lappland Crossing Oconomowoc WI 53066.” The SUBJECT PARCEL was postmarked on
March 20, 2019 in Oakland, CA 94615 at 6:16 pm. The postage was $53.50, with no additional
insurance on the parcel added.

ITEMS TO BE SEIZED

4. The following are items that may be seized from the SUBJECT PARCEL, which
may constitute the fruits, instrumentalities, and evidence of violations of Title 21, United States
Code, Sections 841 (a)(1) (Distribution and Possession with Intent to Distribute a Controlled
Substance), and 843 (b) (Unlawful Use of a Communication Facility, including the mails, to

Facilitate the Distribution of a Controlled Substance):

a. Any controlled substance; and
b. Currency, money orders, bank checks, or similar monetary instruments in quantities
over $1000.

INVESTIGATION OF THE SUBJECT PARCEL

 

5. I review Postal Service labels and parcels delivered to, and sent from, the

Milwaukee area to/from source narcotic and other illegal drug areas. I do this because I know,

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based on my training and experience, that drug traffickers will sometimes use Priority Mail
Express Service, which is the USPS overnight or two day delivery product. Drug traffickers use
the Priority Mail Express Service delivery services because of its reliability and the ability to track
the article’s progress to the intended delivery point. Other Postal Inspectors located in other parts
of the United States also review labels and parcels as well.

6. On March 22, 2019, I was reviewing parcels at the Milwaukee, WI Processing and
Distribution Center (P & DC), located at 345 W Saint Paul Avenue in Milwaukee, WI. I observed
the SUBJECT PARCEL, which was heavily taped, and bulging at its seams.

7. On March 22, 2019, using the Consolidated Lead Evaluation and Reporting
database (CLEAR), I conducted a search of 4808 McDonnel Avenue in Oakland, CA. CLEAR
did not show anyone by that name currently or has ever lived at the address.

8. On March 22, 2019, using CLEAR, I conducted a search of N66W35104 Lappland
Crossing in Oconomowoc, WI. CLEAR indicated a family with the last name Millot lives at the
residence. One family member also has a first name beginning with the letter “M.” Mitchell A.
Millot is the only resident CLEAR shows to have ever lived there with the initials “M.M.” CLEAR
also shows Millot has a history violations involving marijuana. Using the Wisconsin Consolidated
Court Automation Programs (CCAP) system, I searched for Mitchell A. Millot. CCAP shows that
in July 2004, in Dane County, WI, Mitchell Millot was found guilty of a State of Wisconsin
misdemeanor tetrahydrocannabinol (THC) violation. CCAP also shows that in August 2011,
Mitchell Millot was found guilty of two State of Wisconsin misdemeanors, possession of THC and
possession of a controlled substance. CLEAR also indicated a misdemeanor possession of
controlled substance charge against Millot in United States District Court, Eastern District of

California. Using the Public Access to Court Electronic Records (PACER) system, I located a

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United States District Court Violation Notice in the amount of $180 on March 23, 2018 in Gregory
Beach Shoreline Area, a United States Department of Agriculture, Forest Service park, to Mitchell
A. Millot for the violation of “simple possession,” 21 USC 844(a). The Violation Notice also
indicates the license plate for a Wisconsin registered 1998 model Subaru, which is the same license
plate indicated in CLEAR as a Wisconsin registered 1998 model Subaru Legacy for Mitchell A.
Millot.

9. I am aware that the state of California is a source area for controlled substances.
As such, controlled substances are frequently transported from California via the USPS, and the
proceeds from the sale of the controlled substances are frequently returned to California via the
USPS. These proceeds are generally in large amounts of money, over $1000.

10. On March 22, 2019, I met with Waukesha County Sheriff's Department Lieutenant
Chadwick Niles and his canine “Xan” at the Waukesha County Sheriff’s Department office.
Together, Lieutenant Chadwick Niles and canine Xan have been partnered since 2015 and are a
certified dual purpose Police Narcotic Detection Team, accredited through the American Police
Canine Association in the detection of heroin, cocaine, marijuana, methamphetamine, and other
controlled substances made with like components. Lieutenant Niles and canine Xan were certified
in July 2018 through American Police Canine Association. Deputy Niles is a current member of
the Wisconsin Canine Handler Association as well as the American Police Canine Association, as
required by the State of Wisconsin Controlled Substances Board. Deputy Niles states that during
training, canine Xan has alerted to the presence of the controlled substance that he is trained to
detect over 100 times.

11. On March 22, 2019, canine Xan did not alert to the SUBJECT PARCEL, which

had been placed in an area previously cleared by canine Xan without any alerts.

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12. In addition to the SUBJECT PARCEL, while reviewing parcels on March 22, 2019,
at the Milwaukee P & DC, I also observed another suspicious parcel. United States Postal Service
Priority Mail Express parcel # EE 304 477 332 US was in a box the same dimensions as the
SUBJECT PARCEL, a white box 13 3/8” long x 11 7/8” wide x 3 5/8” tall, weighing
approximately 2 lb. 9 oz. It was addressed from “Lindsey McNally 4808 McDonnel Ave Oakland
CA 94619.” It was addressed to “M.M. N66 W35104 Lappland Crossing Oconomowoc WI
53066.” This additional parcel was postmarked on March 20, 2019 in Oakland, CA 94615 at 6:18
pm, two minutes after to the SUBJECT PARCEL. In addition, this parcel was taped in the same
excessive manor, with the same crisscross pattern, and was also bulging at the seams. When I first
observed this parcel, I noticed the smell of marijuana emanating from the parcel. A review of
USPS sales records, indicate this parcel was purchased with cash on the same transaction receipt
as the SUBJECT PARCEL. This parcel is the subject of a separate search warrant affidavit.

13. Accordingly, I respectfully request the issuance of a search warrant directing the
search of the SUBJECT PARCEL described in Paragraph 3 for the items described in Paragraph

4 and seizure of those items.

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